              Case 2:04-cr-00374-MCE Document 110 Filed 12/13/06 Page 1 of 1


 1   Robert J. Saria, SBN 128749
     Saria & Saria
 2   11344 Coloma Road, Suite 110
     Gold River, CA 95814
 3
     Attorney for Defendant
 4

 5

 6

 7

 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       ) Case No.: CR. NO. S-04-0374
                                                     )
12                  Plaintiff,                       ) ORDER
                                                     )
13          vs.                                      )
                                                     )
14   CLARISSA A. OGO,                                )
                                                     )
15                  Defendant                        )
                                                     )
16

17          IT IS HEREBY ORDERED THAT the United States Passport of CLARISSA A. OGO in
18   the custody of the United States Probation Office for the Eastern District of California is
19   RELEASED forthwith and returned to the custody of CLARISSA A. OGO.
20   Dated: December 13, 2006
21

22

23                                              _______________________________________
                                                MORRISON C. ENGLAND, JR.
24                                              UNITED STATES DISTRICT JUDGE

25




                                                     -1-
